
LOTTINGER, Judge.
For the reasons assigned in Roberta Margaret Young Madden, individually, and in her capacity as executive director of Louisiana Common Cause, and Charles A. “Sam” Jones, III, individually, and Winston J. Jackson, Jr., individually versus R.E. Edwards and James H. “Jim” Brown, in his capacity as Secretary of State, 436 So.2d 759, rendered this date, the judgment of the trial court disqualifying the candidacy of Michael J. Musmeci, Sr. and enjoining the Honorable James H. “Jim” Brown, Secretary of State of Louisiana from placing the name of Michael J. Musmeci, Sr. on the ballot in the October 22,1983, gubernatorial primary election is reversed, and the suit of plaintiffs is dismissed with costs to be paid *763by appellees both in this court and in the trial court as it relates to this suit.
REVERSED AND RENDERED.
WATKINS, J., concurs in the result.
